        Case 1:06-cr-00279-CG-B Document 162 Filed 05/01/15 Page 1 of 1                                                       PageID #: 887
$2 5HY $/6'2UGHU5HJDUGLQJ0RWLRQIRU6HQWHQFH5HGXFWLRQ3XUVXDQWWR86& F 


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                                                                        IRUWKH
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                                                       Southern District of Alabama

                    8QLWHG6WDWHVRI$PHULFD
                               Y
             GEORGE ALLEN MOTHERSHEAD                                           &DVH1R       06-00279-004
                                                                                8601R 10590-003
'DWHRI2ULJLQDO-XGJPHQW                            12-09-2009
'DWHRI3UHYLRXV$PHQGHG-XGJPHQW
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        8SRQPRWLRQRI u   ✔  WKHGHIHQGDQW u WKH'LUHFWRURIWKH%XUHDXRI3ULVRQV u WKHFRXUWXQGHU86&
 F  IRUDUHGXFWLRQLQWKHWHUPRILPSULVRQPHQWLPSRVHGEDVHGRQDJXLGHOLQHVHQWHQFLQJUDQJHWKDWKDV
VXEVHTXHQWO\EHHQORZHUHGDQGPDGHUHWURDFWLYHE\WKH8QLWHG6WDWHV6HQWHQFLQJ&RPPLVVLRQSXUVXDQWWR86&
 X DQGKDYLQJFRQVLGHUHGVXFKPRWLRQDQGWDNLQJLQWRDFFRXQWWKHSROLF\VWDWHPHQWVHWIRUWKDW866*%
DQGWKHVHQWHQFLQJIDFWRUVVHWIRUWKLQ86& D WRWKHH[WHQWWKDWWKH\DUHDSSOLFDEOH
IT IS ORDEREDWKDWWKHPRWLRQLV
           u '(1,(' u✔ *5$17('DQGWKHGHIHQGDQW¶VSUHYLRXVO\LPSRVHGVHQWHQFHRILPSULVRQPHQW(as reflected in
the last judgment issued)RI      108            PRQWKVis reduced to            87 months                 



ADDITIONAL COMMENTS




([FHSWDVRWKHUZLVHSURYLGHGDOOSURYLVLRQVRIWKHMXGJPHQWGDWHG                          12-09-2009          VKDOOUHPDLQLQHIIHFW
IT IS SO ORDERED                                                                                              Digitally signed by Callie V.S. Granade U.S. District Judge
                                                                   Callie V.S. Granade U.S.                    DN: cn=Callie V.S. Granade U.S. District Judge, o=U.S. Government,
                                                                                                               ou=Federal Judiciary, email=efile_granade@alsd.uscourts.gov,

2UGHU'DWH                  05-01-2015                            District Judge                              c=US
                                                                                                               Date: 2015.05.01 11:05:02 -06'00'
                                                                                                      Judge’s signature


(IIHFWLYH'DWH              11-01-2015                                                      United States District Judge
                     (if different from order date)                                                Printed name and title
